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                                 No. 24-2897

__________________________________________________________________

            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT


     SHOSH YONAY, an individual, and YUVAL YONAY, an individual,

                          Plaintiffs-Appellants,

                                    v.

    PARAMOUNT PICTURES CORPORATION, a Delaware corporation,

                          Defendant-Appellee.

               On Appeal from the United States District Court
                    for the Central District of California
                         No. 22-CV-03846-PA-GJS
                            Hon. Percy Anderson


                    APPELLANTS’ OPENING BRIEF



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                       JURISDICTIONAL STATEMENT

      The district court had subject matter jurisdiction under the U.S. Copyright

Act, 17 U.S.C. §§101 et seq., 28 U.S.C. §2201, as well as 28 U.S.C. §§1331, 1332,

1338(a), and 1367. This timely appeal arises from a Fed. R. Civ. P. 56(c) order

dated April 5, 2024 disposing of all of Plaintiffs’ claims. 1-ER-3–16; Fed. R. Civ.

P. 4(a)(1)(A). The Notice of Appeal was timely filed May 6, 2024. This Court has

jurisdiction under 28 U.S.C. §1291.

                              ISSUES PRESENTED

      Ehud Yonay’s (“Yonay”) compelling 1983 story “Top Guns” (“Story”),

purchased by Defendant Paramount Pictures Corporation (“Paramount”), was the

documented literary genesis of its highly successful film Top Gun (1986) (“1986

Film”) and thus its blockbuster sequel Top Gun: Maverick (2022) (“Sequel” or

“Maverick”).1 On January 24, 2020, Yonay’s widow and son, Shosh and Yuval

Yonay (“Yonays” or “Plaintiffs”) successfully recovered the U.S. copyright to the

Story pursuant to the termination provisions of the Copyright Act (“Act”), 17

U.S.C. §203(a), consistent with its legislative purpose. 2-ER-218. Paramount

ignored the statutory termination and released its derivative Sequel which naturally




1
 Corrected Mot. for Leave to Transmit Physical Exhibits, Ex. B (Top Gun:
Maverick (“TGM”)), Ex. C (Top Gun (“TG”)).
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exploits the Story, willfully infringing the Yonays’ copyright. Notwithstanding

numerous similarities between the Story and Sequel (collectively, “Works”), the

lower court granted Paramount summary judgment, remarkably holding that no

jury could find substantial similarity between the Works. 1-ER-14. The lower

court’s decision gives rise to the following issues:

      (i)     Whether the court erred by adopting Paramount’s invented fact/fiction

dichotomy to sweepingly “filter out” nearly all the Story’s protectable expression

simply because it is a nonfiction work.

      (ii)    Whether the court, in conducting the “extrinsic test,” erred by

disregarding all literary expert evidence and inserting its own subjective view of

the Works’ elements.

      (iii)   Whether the court erred by excluding Plaintiffs’ literary expert for not

filtering out unprotected elements, even though he had done so and, in any event,

proper analysis of an author’s “selection and arrangement” requires no filtration.

      (iv)    Whether the court erred by failing to exclude (and relying upon)

Paramount’s alleged expert whose report consisted entirely of hearsay and targeted

the strawman issue of the Story’s “factual accuracy.”

      (v)     Whether the court erred by interpreting, on Paramount’s motion, its

Agreement with Yonay in the light most favorable to Paramount (which had also

drafted the contract) to deny Yonay credit on the Sequel.


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      In broadly dismissing Yonay’s expressive Story simply because it is

nonfiction; in disregarding all literary expert evidence; and in substituting its own

subjective view of the Works, the lower court committed serious errors which must

be reversed.

                          STATEMENT OF THE CASE

      Yonay’s original Story was published in California magazine on April 21,

1983. 3-ER-372–85. California magazine was a bastion of “New Journalism,”

where writers use extensive imagery and subjective expression to present facts

with the colorful voice of fiction. 2-ER-161. In this expressive literary style, Yonay

created an engaging cinematic depiction of a naval aviation school by curating

vivid portrayals from the perspective of the pilots, highlighting their childhood

dreams, personalities, and experiences. 3-ER-374–85. The Story springs from the

page and immediately evokes Top Gun and Maverick long before these derivative

films existed. 3-ER-374–85; 2-ER-161.

      According to Jerry Bruckheimer (producer of Top Gun and Maverick) and

Don Simpson (producer of Top Gun), when they first read Yonay’s cinematic

Story, Simpson exclaimed: “‘We got to get this. We got to buy this,’” … “‘Get on

the phone with California Magazine. We want this right away.’” … “What

grabbed me was the colorful incidents, anecdotes and characters. These guys had

names, like Hollywood.” 2-ER-281–82.


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      Bruckheimer: “Yogi and Possum.”

      Simpson: “Yogi and Possum. I mean they were animals” … “One of the

head [Paramount] admins said: ‘Well tell us about the movie you’re going to

make.’ I said ‘Well, we’re going to make a movie about the Top Gun school.’ He

says ‘No, tell me the story’… And I told him about the spirit of the movie, which

means gentlemen, we are going to make a movie about the process of becoming a

Top Gun and we are going to dramatically expose you to what it’s like to go

through the process, and succeed at it, and the price you have to pay to be frankly

the most important warrior we have.” 2-ER-282–84.

      Mere weeks after its publication, Paramount raced to lock up exclusive rights

under copyright to Yonay’s Story in an agreement dated May 18, 1983

(“Agreement”). 3-ER-391. The Agreement required Paramount to give Yonay

credit on any film “substantially incorporating” the Story’s literary elements. Id.

¶ 7(b). And, no surprise, Paramount’s 1986 Top Gun credited Yonay because it

did. 2-ER-200.

      On January 23, 2018, the Yonays exercised their rights under 17 U.S.C.

§203(a) to recapture the Story’s U.S. copyright by terminating Paramount’s 1983

grant, effective January 24, 2020. 2-ER-219–21. According to Paramount’s

copyright registration, the Sequel was not completed until 2022. 2-ER-197. But in

response to Plaintiffs’ cease-and-desist letter (2-ER-223–24), Paramount blankly


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denied the Sequel’s obvious derivation from Yonay’s Story, made no effort to

relicense it, and steamrolled ahead with the release of its Sequel on May 27, 2022.

2-ER-197.

      The Sequel, referred to as a “legacy” sequel, closely follows and

incorporates Top Gun and was hugely successful.2 But unlike Top Gun, the Sequel

conspicuously failed to credit Yonay, breaching Paramount’s Agreement. 3-ER-

396 ¶7(b). Considering that Paramount raced to secure film rights to Yonay’s

inspiring Story; that Top Gun credited Yonay; that its Sequel closely tracks it; and

that unsurprisingly, the Story, Top Gun, and Sequel share unmistakable

similarities, the Yonays were entitled to a jury trial, if not summary judgment, on

their claims for copyright infringement and breach of contract.

      The lower court, however, bought Paramount’s revisionist narrative hook,

line, and sinker, granting it summary judgment. Just because the Story is

nonfiction, the court disregarded Yonay’s original expression, reducing his

exhilarating work to a phonebook of unprotectable facts. 1-ER-11–13. The court




2
  2-ER-164–65. The Sequel contains stills and flashbacks from/to Top Gun,
incorporates its central characters, setting, themes, and depicts similar aerial
combat training including exact stunts from the Story. The Sequel even credits the
writers and both producers of Top Gun. TGM 00:00:30, 00:03:39, 00:03:45,
00:03:49, 00:17:00–00:17:25, 00:31:15–00:32:30, 00:35:04–00:35:34, 00:36:30,
02:01:25; TG 00:32:57, 01:07:35, 01:13:58–01:14:40; 3-ER-378, 381–82; 2-ER-
164–66, 181,186–87, 190.
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eschewed both sides’ literary experts despite having earlier denied Paramount’s

Rule 12(b)(6) motion citing this Court’s precedent calling for such expert

evidence. 1-ER-6–7; 3-ER-407. Without expert guidance, the court waved away

clear similarities in the Works to find no infringement. 1-ER-14. The court further

denied Yonay credit on the Sequel as mandated by Paramount’s Agreement,

brushing off the essential role Yonay’s Story played in spawning Paramount’s

billion-dollar franchise. 1-ER-14–16.

                         STATUTORY BACKGROUND

      The Copyright Act provides authors or their families with the inalienable

right to recapture the copyright to the author’s creative material after a lengthy

waiting period by statutorily terminating a prior transfer of such copyright. 17

U.S.C. § 203(a). “The principal purpose…was to provide added benefit to

authors.” Mills Music, Inc. v. Snyder, 469 U.S. 153, 172-73 (1985). Congress

recognized that publishers held far greater bargaining power and that consequently,

authors commonly agreed to one-sided grants precluding them from sharing in

their works’ success. See Classic Media, Inc. v. Mewborn, 532 F.3d 978, 983-84

(9th Cir. 2008). The results were often supremely unfair, as when a work proved to

have enduring commercial value, but solely enriched the grantee. Id. Congress

created termination rights to “safeguard[] authors against unremunerative

transfers” and to give authors or their families a chance to obtain a more equitable


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share of their works’ value once it was proven. H.R. Rep. No. 94-1476, at 124

(1976); N.Y. Times Co. v. Tasini, 533 U.S. 483, 495 n.3 (2001).

      Consistent with this purpose, the Yonays exercised their termination right,

effective January 24, 2020. Their statutory termination did not prevent Paramount

from continuing to release pre-termination derivative works (e.g., Top Gun), 17

U.S.C. §203(b)(1). It solely affected new derivative works like the Sequel,

published after January 24, 2020, which just required a new license from the

Yonays. Accordingly, the termination would not deprive Paramount of its

franchise; it would simply allow the Yonays to finally participate in some financial

benefits of Yonay’s creation—precisely as Congress intended. H.R. Rep. No. 94-

1476, at 124.

                        SUMMARY OF THE ARGUMENT

      This case seeks to safeguard the creative expression of authors and the

remedial purpose of the Act’s termination provisions. A court’s extrinsic

“substantial similarity” analysis must not throw the baby out with the bathwater.

Circumscribed filtration of truly unprotected material is key to maintaining the

critical balance between the public domain and copyright law’s Constitutional

mandate to protect creative works for the benefit of authors and our culture. Courts

that broadly filter out an author’s unique expression on pliable overbroad grounds

destroy this delicate balance, harming authors and the public alike.


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         The lower court committed six categories of errors requiring reversal:

         (i)     The court erred when it adopted Paramount’s legally unsupported

fact/fiction dichotomy—as opposed to the proper fact/expression dichotomy—

sweepingly filtering out Yonay’s protected expression simply because his Story is

nonfiction. Such rote, overbroad filtration of an author’s protected expression is

unsupported and requires reversal.

         (ii)    In conducting the “extrinsic test” for copyright infringement, the court

erred by expressly disregarding and replacing literary expert evidence with its own

view of a complex comparison of works from different media. As a result, the

court overlooked substantial similarities between the Works which, when viewed

in the light most favorable to the Yonays (the non-moving parties), at minimum

gave rise to genuine issues of material fact.

         (iii)   The court erred by excluding Plaintiffs’ literary expert who properly

compared the Works’ expression, distinguishing unprotectable facts and scènes à

faire.

         (iv)    The court further erred by excluding Plaintiffs’ literary expert for

purportedly not engaging in filtration when, in fact he did, and regardless,

“selection and arrangement” analysis requires none.




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      (v)    The court erred by admitting and adopting the hearsay-laden reports

of Paramount’s expert on the Story’s “factual accuracy”—an obvious nonissue—

which merely served to bolster Paramount’s misleading “fact/fiction” strawman.

      (vi)   Finally, pursuant to its Agreement, Paramount was to credit Yonay on

any film (e.g., Maverick) based on an adaptation of the Story (e.g., Top Gun). The

court triply erred by misconstruing the Agreement in the light most favorable to

Paramount—both its drafter and the moving party—to deny Yonay credit.

      The lower court’s numerous errors resulted in the wrongful dismissal of

Plaintiffs’ claims. This case presents an ideal opportunity to (i) safeguard the vital

purpose of the Act’s termination rights; (ii) reaffirm the importance of an author’s

creative expression; and (iii) mandate the need for caution and literary expertise in

applying the extrinsic test.

                               STANDARD OF REVIEW

      This Court “review[s] the district court’s grant of summary judgment de

novo, viewing the evidence in the light most favorable to the non-moving party and

drawing all reasonable inferences in its favor.” Bell v. Wilmott Storage Servs.,

LLC, 12 F.4th 1065, 1068 (9th Cir. 2021) (citation omitted).




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                                   ARGUMENT

I.    THE LOWER COURT ERRED IN ITS OVERBROAD FILTRATION
      OF YONAY’S PROTECTED EXPRESSION.

      The lower court’s extrinsic analysis was flawed from the start. It erroneously

adopted Paramount’s legally unsupported fact/fiction dichotomy (1-ER-11) when

the correct analysis must parse the fact/expression dichotomy3—i.e., whether the

Story expressed facts in an original way, not whether Yonay wrote fiction or

nonfiction. See Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 350-51

(1991) (“principle, known as the…fact/expression dichotomy, applies to all

works”); Harper & Row, Publishers, Inc. v. Nation Enterprises, 471 U.S. 539, 547,

556-57 (1985) (“creation of a nonfiction work, even a compilation of pure fact,

entails originality”) (collecting cases); 2 William Patry, Patry on Copyright

(“Patry”) §4:7 (2024) (courts must not employ a binary fact/fiction framework and

respect “expressive material in nonfiction works”).

      Courts have long protected expression in even highly technical factual

works. See, e.g., CDN Inc. v. Kapes, 197 F.3d 1256, 1259-61 (9th Cir. 1999)

(protecting compilation of coin prices); Los Angeles News Serv. v. Tullo, 973 F.2d




3
  Plaintiffs assembled a chart comparing underlying facts to their substantially
similar expression in both Works to clarify for the district court how Yonay’s
expressive Story colorfully portrayed bare facts. 2-ER-226–52.

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791 (9th Cir. 1992) (raw news videotape is copyrightable); Honeywell Int’l, Inc. v.

W. Support Grp., Inc., 947 F. Supp. 2d 1077, 1081-82 (D. Ariz. 2013) (aircraft

manuals protected).

      By deploying Paramount’s unsupported fact/fiction construct, the district

court excluded any expression in Yonay’s Story containing a kernel of fact—

tossing the wine out with the cork. 1-ER-10–13 (Order: broadly filtering “factual

elements” as opposed to “facts”). For example, the court ignored obvious

similarities between Yonay’s creative choice to center his Story on Yogi and

Possum and the Sequel’s similar focus on Maverick and Goose/Rooster solely

because the former were “real people.” 1-ER-13. The court overlooked Yonay’s

expressive characterizations of the pilots, including their “shit-hot” machismo (3-

ER-384), Yogi/Possum’s intimate “security blanket” bond (3-ER-381), and their

place in “Camelot” at “King Arthur’s Round Table [with] the gathering of the

greatest of the greats in fighter aviation” (3-ER-378). Yonay’s colorful portraitures

are hardly “facts,” yet they were all erroneously culled by the lower court’s

overbroad filter just because the Story’s pilots were “real.” 1-ER-13. See Feist, 499

U.S. at 348 (an author may “claim a copyright in []his written expression” if he

“clothes facts with an original collocation of words”); Cooling Sys. & Flexibles v.

Stuart Radiator, Inc., 777 F.2d 485, 492 (9th Cir. 1985) (“to whatever extent the

expression and arrangement of facts is original, an author is protected against its


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copying”); De Acosta v. Brown, 146 F.2d 408, 410 (2d Cir. 1944) (“original

treatment of…historic character…entitled to protection”).

        One need only contrast Yonay’s expressive story with the naval air station’s

boring Wikipedia page 4, or the dull senate report proffered by Paramount (3-ER-

447–516) to appreciate that “there are gazillions of ways” to approach the subject

and a wide range of creative choices available, thus entitling the Story to broad

copyright protection. Mattel, Inc. v. MGA Entm’t, Inc., 616 F.3d 904, 913-14 (9th

Cir. 2010); compare Ets-Hokin v. Skyy Spirits, Inc., 323 F.3d 763, 766 (9th Cir.

2003) (photo of vodka bottle got “thin” protection as it posed few creative choices)

with Rentmeester v. Nike, Inc., 883 F.3d 1111, 1120 (9th Cir. 2018) (photo of

Michael Jordan dunking a basketball received “broad” protection as there were a

“much wider range of creative choices available in producing it”).

        The Story, while nonfiction, is predominantly the protectable original

expression of Yonay and was valuable to Paramount for that exact reason. Just

compare Yonay’s electrifying Story to the report of Paramount’s “fact expert”

Andrew Craig (“Craig Rep.”):

        •     Craig Rep.: “Sometimes, on cloudless days, the color of the sky
              and the color of the sea are exactly the same.” 3-ER-316.




4
    https://en.wikipedia.org/wiki/Marine_Corps_Air_Station_Miramar.
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      •      Story: “From where they sit, however, it’s not their silver rocket
             that’s rocking but the entire vast blue dome of sea and sky. There
             are no ups or downs up here, no rights or lefts, just a barely
             perceptible line separating one blue from another, and that line is
             spinning and racing like mad in the distance.” 3-ER-376.

      •      Craig Rep.: “TOPGUN pilots could drink and socialize with
             women in a lively atmosphere.” 3-ER-301.

      •      Story: “It is Wednesday night happy hour, and the small, noisy
             room is packed with pumped-up fighter jocks…With raw sex
             waving right in front of their eyes, these supremely healthy
             young males are standing around in twos or threes talking about
             the hop [flight].” 3-ER-379.

      It goes without saying Paramount would not have rushed to lock up

exclusive film rights to the Story if it were just a dry factual compilation. See CDN

Inc., 197 F.3d at 1261 (protecting factual guides: “If [plaintiff] merely listed

historical facts…the guides would be…of little use to anyone.”). Indeed,

Paramount long treated Yonay’s expressive work as a copyrightable “story” (3-

ER-391), but upon losing its rights, flipped, and renounced the legal position from

which it exclusively benefitted for decades. The lower court’s embrace of

Paramount’s revisionism and legally unsupported “fact/fiction” filter tainted its

entire analysis and must be reversed.

II.   THE DISTRICT COURT ERRED BY SUBJECTIVELY APPLYING
      THE “EXTRINSIC TEST” AND DISREGARDING THE WORKS’
      SUBSTANTIAL SIMILARITIES.

      A.     The Court Was Required to Consider Literary Expert Evidence.

      The lower court erred by refusing literary expert guidance from both sides in

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conducting its extrinsic analysis of the Works. 1-ER-6–7. The Ninth Circuit has

long recognized that the “extrinsic test [for substantial similarity] requires

analytical dissection of a work and expert testimony.” Swirsky v. Carey, 376 F.3d

841, 845-846 (9th Cir. 2004) (citing Three Boys Music Corp. v. Bolton, 212 F.3d

477, 485 (9th Cir. 2000)); see Gregorini v. Apple, Inc., 2022 WL 4597419, at *5

(C.D. Cal. Aug. 26, 2022) (courts deny summary judgment when faced with

“competing expert testimony on the question of extrinsic similarity”) (collecting

cases).

      This Court’s consistent precedent recognizes that judges and lawyers are

often unqualified and/or ill-equipped to conduct the multifaceted literary analysis

copyright infringement cases frequently require. See Hanagami v. Epic Games,

Inc., 85 F.4th 931, 945 (9th Cir. 2023) (“In many cases, application of the extrinsic

test requires analytical dissection of a work and expert testimony because most

judges are not sufficiently trained in the specifics of the art form at issue to make

reliable conclusions about similarity.”) (cleaned up) (quoting Williams v. Gaye,

895 F.3d 1106, 1119 (9th Cir. 2018)).

      This is particularly true here where the Works are in different media. See 4

David Nimmer, Nimmer on Copyright (“Nimmer”) §13.03[E][2]. Naturally,

derivative two-hour feature films like Top Gun and its Sequel will be far more

expansive than the underlying magazine Story, but differences in scope and


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content do not support dismissal. Id.; see Twentieth-Century Fox Film Corp. v.

Stonesifer, 140 F.2d 579, 583 (9th Cir. 1944) (affirming infringement: Although

“film and [play] differ in numerous respects[, s]uch dissimilarities result []

principally from the film’s enlarged means.”).

      Here, the court previously denied Paramount’s Rule 12(b)(6) motion

because “development of the factual record would shed light on” the extrinsic

analysis. 3-ER-407 (citing Zindel v. Fox Searchlight Pictures, Inc., 815 F.App’x

158, 159-60 (9th Cir. 2020) (reversing this district court for unilaterally conducting

its own similarity analysis because “expert testimony[] would aid in the objective

literary analysis needed to determine the extent and qualitative importance of the

similarities”)). Yet, on summary judgment, the court disregarded both sides’

literary experts resulting in its erroneous analysis and judgment. 1-ER-6–7.

      B.     The Court Erred by Abstracting and Then Broadly Disregarding
             Elements as Scènes À Faire.

      The court erred by glossing over intricate similarities in the Works with

overbroad abstractions, which it then ruled were too “general” to be protectable.

See, e.g., 1-ER-12 (“And while both Works involve fighter pilots training…those

general plot ideas are also not protected.”). But the Story is far richer than “general

ideas.” When one actually engages in the details of the Works—which is where

expression lives and is what the law requires—the substantial similarities in

protectable expression become clear. See Metcalf v. Bochco, 294 F.3d 1069, 1074

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(9th Cir. 2002) (“protectable expression includes the specific details of an author’s

rendering of ideas”).

      The court repeatedly ruled that the Story’s elements were unprotected scènes

à faire. 1-ER-10, 12–13. However, similarities cannot be disregarded as such

unless they meet the narrow exclusion for stock literary elements which “are

indispensable” (Williams, 895 F.3d at 1119 n.6), a ruling which requires expert

evidence. “Even [as to] an old or stock situation, copyright protection may still be

available for original material interpolated therein.” Nimmer §2.01[A][2]. Thus,

“[i]t is inappropriate to grant summary judgment on the basis of scenes a faire

without independent evidence[.]” Swirsky, 376 F.3d at 850.

      Without expert assistance, the court evidently evaluated the Works based on

its subjective understanding of today’s stock tropes. 1-ER-10–13. Proper analysis,

however, required the court to gauge, with expert guidance, the stock elements of

naval literature in 1983 when Yonay wrote his Story. See Alfred v. Walt Disney

Co., 821 F.App’x 727, 729 (9th Cir. 2020) (“[E]xpert testimony would aid in

determining whether the similarities Plaintiffs identify are qualitatively significant.

This would be particularly useful in this circumstance, where the works in question

are almost twenty years old and the blockbuster Pirates of the Caribbean film

franchise may itself have shaped what are now considered pirate-movie tropes.”)

(citations omitted).


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      In 1983, before Top Gun popularized the Story’s elements, its high-tech,

high-testosterone aerial action scenes were by no means common. 2-ER-194. The

riveting aerial action visualized in Yonay’s Story gave rise to Top Gun whose

widespread success commercialized the Story’s elements, shaping the action genre

of today—analysis necessitating expert input. Id.; see Metro-Goldwyn-Mayer, Inc.

v. Am. Honda Motor Co., 900 F. Supp. 1287, 1294 (C.D. Cal. 1995) (heeding

expert testimony that “James Bond films are the source of a genre rather than

imitators [of it]”). Here, the court ignored experts and dismissed protected

expression as scènes à faire without analysis. 1-ER-10–13.

      C.     The Court Erred by Subjectively Evaluating and Disregarding
             Substantial Similarities between the Works.

      In applying the extrinsic test, a court must objectively analyze the works’

similarities in characters, plot, mood, pace, sequencing, setting, dialogue, themes

and other elements, including the “selection and arrangement of [even] unprotected

elements.” Metcalf, 294 F.3d at 1073-74 (citation omitted). Importantly, a district

court may enter summary judgment against a copyright plaintiff only if, when

viewing the works in the light most favorable to the plaintiff, “no reasonable juror”

could find substantial similarities between the works.5 Swirsky, 376 F.3d at 844;




5
  This is the same stringent standard restricting courts’ authority to render
judgment notwithstanding a verdict under Fed. R. Civ. P. 50.
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see Williams, 895 F.3d at 1127 (“[i]t is not the courts’ place to substitute our

[subjective] evaluations for those of the jurors”).

      In literature and film, story elements are often interwoven. See, e.g., 2-ER-

189 (“Mood is a matter of pacing,…storytelling and, sometimes even character.”).

A comparison of works, especially across different media as here (short story to

feature-length film), entails nuanced close questions of fact. Nimmer §13.03[E][2]

(across different media, “a person untrained in the special requirements and

techniques of…the short story [and] motion picture…may fail to note similarities

that, if [expertly] analyzed and dissected, would be only too apparent”).

      For these reasons, “‘[s]ummary judgment is ‘not highly favored’ on

questions of substantial similarity’” and courts must be “cautious” before

dismissing such cases. Zindel, 815 F.App’x at 159 (quoting L.A. Printex Indus.,

Inc. v. Aeropostale, Inc., 676 F.3d 841, 848 (9th Cir. 2012)); see Unicolors, Inc. v.

Urban Outfitters, Inc., 853 F.3d 980, 985 (9th Cir. 2017) (As “‘substantial

similarity is usually an extremely close issue of fact…summary judgment has been

disfavored.’”) (quoting Litchfield v. Spielberg, 736 F.2d 1352, 1355 (9th Cir.

1984)); Twentieth Century-Fox Film Corp. v. MCA, Inc., 715 F.2d 1327, 1329-30

(9th Cir. 1983) (same, reversing summary judgment).

      It was not the district court’s role to decide whether “the works are, in fact,

substantially similar,” but only to decide whether “reasonable minds could differ as


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to the issue.” Baxter v. MCA, Inc., 812 F.2d 421, 425 (9th Cir. 1987) (reversing

summary judgment for defendant). But instead of viewing the Works in the light

most favorable to the Yonays on Paramount’s motion, the court did the opposite,

adopting Paramount’s mischaracterizations almost verbatim.

             1.     Selection and Arrangement

      It is well established that an author’s choices, selection and arrangement of

elements, even unprotectable elements, is protected. Rentmeester, 883 F.3d at

1119; see Hanagami, 85 F.4th at 946 (reversing for failure to properly assess

“selection and arrangement”); Swirsky, 376 F.3d at 848-49 (same). A court must

therefore assess whether an author’s original choices and combination of protected

and unprotected elements, without filtration, supports substantial similarity. See

Nimmer §13.03 n.25.

                  i.      The Court Misconstrued the Selection and
                          Arrangement Inquiry.

      The court erred by misconstruing the selection and arrangement analysis.

First, it required the Works to completely share the “same” (as opposed to a

“substantially similar”) selection and arrangement. 1-ER-14 (holding the Works

“do not share the same combination of unprotected elements”) (emphasis original).

But slavish copying is not the standard. Under the court’s rigid analysis, Maverick

would not even infringe Top Gun. As this Court recently held, substantial

similarity in selection and arrangement is evaluated both “qualitatively and

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quantitatively”: “the proper inquiry does not turn on the mere length of the copied

material…If the copied portion is deemed significant, then the defendant cannot

avoid liability simply because it is short.” Hanagami, 85 F.4th at 946 (citing

Nimmer §13.03); see, e.g., Baxter, 812 F.2d at 425 (rejecting argument that a mere

six-note musical sequence is unprotectable).

      The court cited Skidmore and Feist to support its “sameness” holding, but

each were decided on distinguishable facts. 1-ER-14 (citing Skidmore v. Led

Zeppelin, 952 F.3d 1051, 1075 (9th Cir. 2020), quoting Feist, 499 U.S. at 361).

Feist concerned the copyrightability of a phonebook containing alphabetized

names and numbers. 499 U.S. at 342, 349. The Supreme Court held copyright in

such a sterile “factual compilation is thin” and eschewed “substantial similarity”

for a heightened “sameness” standard. Id. at 349. Similarly, in Skidmore, this Court

noted in dicta that there “are relatively few ways to express a combination of five

basic elements in just four measures” and therefore copyright “protects against

only virtually identical copying” of such a short musical refrain. 952 F.3d at 1080.

      By contrast, when Yonay drove out to that military base, he could have told

his Story in innumerable ways. Shaw v. Lindheim, 919 F.2d 1353, 1360 (9th Cir.

1990) (“there is an infinite variety of novel or creative expression available to the

author of a book, script, play, or motion picture based on a preexisting idea”). But

Yonay selectively chose to tell it through the lens of two jocular flyers, Yogi and


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Possum who, with others, train and play with intensity, intimacy, and frat-house

antics, just like Maverick and Goose in Top Gun, and Maverick and the squadron

in its Sequel.6 In fact, the unique allure of Yonay’s Story, adopted by both

derivative Top Gun films, is that it moves well beyond the trappings of a

regimented naval base to what drives and makes these pilots our elite warriors. The

Story is obviously far more expressive than a phonebook or an isolated “four-bar”

musical refrain.

        As summarized in Mattel, 616 F.3d at 913-14:

        If there’s a wide range of expression (for example, there are gazillions
        of ways to make an aliens-attack movie), then copyright protection is
        “broad” and a work will infringe if it’s “substantially similar” to the
        copyrighted work. If there’s only a narrow range of expression (for
        example, there are only so many ways to paint a red bouncy ball on
        blank canvas), then copyright protection is “thin” and a work must be
        “virtually identical” to infringe (citations omitted).

        The court further erred by purporting to compare the Works’ selection and

arrangement of only “unprotected elements.” 1-ER-14 (“[Works] do not share the

same combination of unprotected elements.”). But selection and arrangement

analysis must consider all elements, protected and unprotected. McCulloch v.

Albert E. Price, Inc., 823 F.2d 316, 320 (9th Cir. 1987) (“[A] proper analysis of

[selection and arrangement] requires that all of the elements of the work, including




6
    3-ER-379; TGM 00:24:50–00:30:30; TG; 2-ER-191–92.
                                          21
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the uncopyrightable text, be considered as a whole in determining copyright

infringement.”). Neither Skidmore nor Feist, cited by the court (1-ER-14), had

before them an expressive literary work, and therefore no cause to consider both

protected and unprotected elements. See Skidmore 952 F.3d at 1079 (four musical

bars); Feist, 499 U.S. at 342 (phonebook).

      Further still, the court erred by focusing on two purported differences

between the Works. 1-ER-14 (“[The Story] includes facts about the technical

aspects of F-14 jet aircraft and the history of Top Gun, which do not appear in the

Sequel.”). Even as to this deviation, the court was wrong: e.g., the Story

emphasizes the F-14’s “wings can sweep back” or “open to the sides like an

eagle’s” and in the Sequel, though all the pilots fly F-18 jets, the movement of the

wings of an old F-14 is used as a plot device allowing Maverick to make an

impossibly short takeoff. 3-ER-380; TGM 01:47:45–01:48:45; 2-ER-174–75.

      Regardless, a court must focus on the Works’ shared elements, not

differences. Sheldon v. Metro-Goldwyn Pictures Corp., 81 F.2d 49, 56 (2d Cir.

1936) (“no plagiarist can excuse the wrong by showing how much of his work he

did not pirate”); Harper & Row, 471 U.S. at 565 (quoting Sheldon, 81 F.2d at 56);

Esplanade Prods. v. Walt Disney Co., 768 F.App’x 732, 733 (9th Cir. 2019)

(same). “It is entirely immaterial that, in many respects…works are dissimilar…If

substantial similarity is found, the defendant will not be immunized from liability


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by reason of the addition in his work of different characters or additional and

varied incidents[.]” Nimmer §13.03[B][1][a] (citing Walt Disney Prods. v. Air

Pirates, 581 F.2d 751, 756 (9th Cir. 1978) (finding infringement though stories

differed entirely)); see Shaw, 919 F.2d at 1364 (reversing summary judgment

“[d]espite these dissimilarities”).

                  ii.      The Court Erred in Its Selection and Arrangement
                           Analysis.

      The court failed to evaluate the original choices Yonay made in his Story,

which Paramount carried through to Top Gun and its Sequel. 1-ER-13–14. Just like

“there are gazillions of ways to make an aliens-attack movie” (Mattel, 616 F.3d at

913), there are gazillions of ways to tell a story about a naval base. Yet, despite all

those available options, the selection and arrangement of Yonay’s Story, Top Gun,

and Maverick are exceptionally similar—unsurprising, since Paramount expressly

purchased the Story to make such films. 3-ER-391. Similarities in Top Gun (in

addition to those in Maverick) are sometimes noted herein because Maverick

heavily relies upon Top Gun, both in flashbacks and stills, and incorporates,

expressly and inherently, its story, characters, and other elements, which were

derived from the Story.

      Yonay’s choices and combination and arrangement of them, shape the center

of Top Gun and its legacy Sequel. 2-ER-191–93. Rather than offer an encyclopedic

narration of the naval base’s operations, Yonay focused on the personal

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backgrounds and idiosyncrasies of ambitious fighter pilots to engage his audience

and humanize his Story. 3-ER-375–85. Top Gun and Maverick do the same.7 Most

of the pilots in the Story, Top Gun, and Maverick are portrayed as “men’s men.”8

All works depict its lead and other characters as adrenaline-junkies, undeterred, if

not invigorated by danger.9 In both Story and Sequel, the sheer love of flying is

portrayed as all-consuming and as coming at the expense of personal

relationships.10 In the Story, “Possum will spend more of [his] married years with

Yogi than with his [own wife]” and in the Sequel, Maverick has an on-again-off-

again relationship and has never been married. 3-ER-382; TGM. Both Works use

flashbacks and cutaways as shortcuts to fill in characters’ pasts and tell their

stories.11

        The Story highlights that only the best of the best get invited back to Top




7
 TGM 00:17:00–00:17:25, 00:24:50–00:30:30; 00:31:15–00:32:30, 02:01:25; TG;
2-ER-167, 191–93.
8
    3-ER-379; TGM 01:07:15, 01:14:40; 2-ER-185–86.
9
    3-ER-379; TGM 01:10:45–01:11:45; 2-ER-169, 173, 178.
10
     3-ER-379; TGM 01:07:15, 01:14:40; 2-ER-185–86.
11
  3-ER-376–85; TGM 00:03:45, 00:17:00–00:17:25, 00:31:15–00:32:30,
02:01:25; 2-ER-164–65, 187–88.

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Gun as instructors and in the Sequel, Maverick is invited back as an instructor.12 In

both Works, pilots live in a communal world (belonging to a “squadron,” a

“Wolfpack [that] will be their home and family, security blanket and confessional

circle”) (3-ER-381–82; 2-ER-169), but Maverick (just like Yogi in the Story) is

essentially a loner. 3-ER-379, 382 (“[Yogi] was almost too serious for the

Wolfpack”).13 The Story portrays fighter jets as the only place for people like Yogi

and similarly, in the Sequel, as the only place Maverick is at home.14 The Story

features a character lauded for his combat experience who downs “three MiGs” in

one day, taking him over the “five-kill line” making him an “ace.” 3-ER-383. In

Top Gun, Maverick is lauded for downing “three MiGs” in one day, re-emphasized

in the Sequel (Maverick: “I shot down three MiGs in one of those [F-14s]” (TGM

1:45:00)), where he shoots down two more “mak[ing] him an ace.”15 Both Works

include a similarly cheeky exchange with enemy fighters (Story: In midair, Yogi

waves to an enemy fighter who does not wave back; Sequel: In midair, Maverick




12
     3-ER-377; TGM 00:19:45; 2-ER-167.
13
     TGM 00:11:35–00:13:20; 2-ER-172, 177, 182.
14
     3-ER-376; TGM 00:21:10–00:22:10, 01:17:15–01:18:45; 2-ER-185.
15
     TG 01:35:30–01:39:40; TGM 01:50:57–01:53:36, 01:58:15; 2-ER-168.

                                         25
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waves to an enemy pilot who does not wave back).16 Both portray the tension

between naval brass and fighter jocks, including a “by the book” Admiral who

seeks to restore discipline and order, threatening irreverent hotshots like

Maverick.17

        Both Works contrast the ethereal beauty of the “vast blue dome of sea and

sky” against jarring, unpredictable competitive action.18 The Story describes

landing on an aircraft carrier as a “controlled crash…if you’re lucky,” and in a

major Sequel scene, Maverick makes a death-defying crash-landing on an aircraft

carrier.19 The Story emphasizes the fighter pilot’s zealous denial mechanism in the

face of death, and the Sequel portrays the same defense mechanism after a pilot’s

near-fatal accident.20 Both Works feature “dogfights” between the pilots, portrayed

as fierce but collegial.21 The Story emphasizes grueling training: “There was more




16
     3-ER-382; TGM 01:49:38–1:50:45; 2-ER-187.
17
 3-ER-384; TGM 00:13:50–00:16:20, 00:17:20–00:20:39, 00:20:45–00:21:20; 2-
ER-166–67, 176.
18
     3-ER-376; TGM 00:34:30–00:41:30; 2-ER-187.
19
     3-ER-381; TGM 01:57:00–01:59:00; 2-ER-175.
20
     3-ER-380–81; TGM 01:10:45–1:15:40, 01:17:45–01:21:15; 2-ER-186.
21
     3-ER-382; TGM 00:34:30–00:41:30; 2-ER-182, 188.

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flying than they had ever had…one-versus-one hops (student crew vs. one

instructor)…then the tough two-versus-unknown hop, in which two crews take off

not knowing…where the bogey [instructor “enemy”] will come from…when the

bogey rolls in and sends them home with a simulated shot.” 3-ER-384. In exactly

that way, Maverick trains his squadron in the Sequel, taking on single crews one-

on-one, then two crews when Maverick rolls in behind them from nowhere,

sending them home with a simulated shot.22 In the Story, Yogi and Possum train by

“shooting up mountains and down canyons and flying so low it was hard to keep

from staring at the ground,” and in the Sequel, the squadron trains by flying fast

and extremely low to the ground down a canyon and quickly shooting up a

mountain.23 In both Works, tension is built as pilots botch exercises while training

against a three-week ticking clock.24 In the Story, when hotshot crews like Yogi

and Possum are “shot down” by instructors, they’re deflated and downcast and, in

the Sequel, ace fighter crews are crestfallen when “shot down” by Maverick.25 In




22
     TGM 00:34:30–00:41:30, 01:10:36; 2-ER-170.
23
     3-ER-385; TGM 00:48:25, 01:09:20; 2-ER-171.
24
     3-ER-377; TGM 00:42:40; 2-ER-172.
25
     3-ER-377; TGM 00:37:56, 00:38:00, 00:38:55; 2-ER-170, 189.

                                          27
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the sky, the mood is freedom from everything but the laws of physics and the

constant threat of death.26 On the ground, the mood is often portrayed as restless,

waiting to go back up.27 All works feature the high-tech weaponry of the day, but

emphasize that success in aerial combat comes down to the pilot.28 3-ER-378

(Story: “[I]n this age of remote-control, pushbutton warfare, the survival and

effectiveness of the entire U.S. Pacific Fleet rests on a few dozen young men[.]”);

TGM 00:52:35 (Rooster: “It’s not the plane, it’s the pilot”); 1:50:28 (same);

1:10:20 (Maverick: “[Success] will come down to the pilot in the box.”).

        Both Works counterpose intense aerial sequences with the human side of

fighter pilots in scenes on the ground, in the briefing-room, convivial R&R

featuring unexpected interludes on “glorious” sailing yachts, and carousing at the

bar, which has a big brass bell and where those who break “house rules” must buy

a round for everyone.29 All works further punctuate the narrative tension by




26
 3-ER-375, 377–78; TGM 00:32:40, 00:34:30–00:41:30, 00:42:45, 01:08:30; 2-
ER-175–77.
27
 3-ER-379; TGM 27:40–28:30, 33:30–35:00, 01:07:15, 01:08:00–01:10:32; 2-
ER-185–86.
28
     3-ER-377–78; TGM 00:13:52–00:16:21, 01:30:30–1:56:00; 2-ER-176.
29
  3-ER-377–79, 382, 384; TGM 00:21:30, 00:24:24, 00:29:00, 00:24:50–00:30:30,
00:33:00, 00:33:40, 00:34:30–00:41:30, 00:46:00–00:47:25; 2-ER-162, 167, 182.

                                         28
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emphasizing characters’ playful nicknames (e.g., Story: “Yogi,” “Possum,”

“Heater”; Sequel: “Maverick,” “Rooster,” “Hangman”) for comic relief and

intimacy.30

      “[W]hat a selection and arrangement copyright protects is the particular way

in which the artistic elements form a coherent pattern, synthesis, or design.” See

Skidmore, 952 F.3d at 1074 (citing L.A. Printex, 676 F.3d at 850-51); see Metcalf,

294 F.3d at 1074 (“common patterns” of even generic literary elements constitute

protectable selection and arrangement). Here, Yonay patterned contradictory

character elements to engage his audience and enhance his Story: e.g., pilots are

fierce, but playful; regimented, but irreverent; macho, but sensitive. And while the

naval base has state-of-the-art technology, Yonay’s portrayal reveals that success

in combat comes down to a pilot’s strength of character and instincts. 3-ER-377–

78, 381–82; 2-ER-192–93 (“That is selection [and arrangement], not just of

subject, but of how to approach and present the subject”). The Sequel makes

similar choices and arranges them the same way and for the same storytelling




30
  3-ER-377, 379–80, 384; TGM 00:25:07–26:00, 00:38:13–00:38:35; 2-ER-162,
183.

                                         29
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purpose: to energize, engage, and amuse the audience.31

        As another example, Yonay’s selection and arrangement of disparate

imagery and structural elements suggests the visual and emotional core of both

films. 2-ER-192–93. In all works, passages of idyllic flying over the beach in

Southern California are juxtaposed suddenly and violently with gut-wrenching

climbs, dives, and dogfights; beauty and terror spring from each other.32 Yonay’s

curated alternation between the aerial ballet, at once lyrical and violent, juxtaposed

against quiet, reflective scenes on the ground is an arrangement and rhythm

exploited in both Top Gun and its Sequel.33

        The Sequel even mimics Yonay’s cinematic descriptions of fighter jets. Both

Works emphasize the sight of afterburners kicking in with pairs of white-hot

flames shooting out.34 The Story describes Yogi discovering a heat-seeking missile

heading toward him, so he “brake[s] hard—pull[s] away fast…to foul up the




31
  TGM 00:13:52–00:16:21, 00:20:00, 00:24:00–00:28:00, 00:33:20, 00:36:30;
00:38:40, 00:50:48, 00:51:00, 01:10:24; 01:30:30–01:56:00; 2-ER-192–93.
32
     3-ER-376; TGM 00:34:30–00:41:30; 2-ER-187.
33
  3-ER-376–77, 379; TGM 00:50:05–00:53:35, 00:24:50–00:30:30; 2-ER-162,
167, 182, 188.
34
  3-ER-380; TGM 00:37:02, 00:37:28, 00:39:02, 00:51:02, 01:11:15, 1:11:54,
1:30:30, 01:47:30; 2-ER-172–74, 190.

                                          30
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missile’s tracking system…and head[s] up in a 7.5G climb.” 3-ER-385; 2-ER-174.

The Sequel shows Maverick discovering a heat-seeking missile on his tail and

conducting an identical maneuver. TGM 01:51:15; 2-ER-174. The Story

emphasizes that at high angles of flight, not enough air flows into engines causing

them to die, and in the Sequel, a plane’s engine dies in the middle of this vertical

stunt. 3-ER-380; TGM 01:13:00–01:14:00; 2-ER-172. The Story prominently

features a back-to-back stunt where a pilot flies upside down close and parallel to

another jet, and in both films, Maverick performs this same daring maneuver.35

        Both Works depict the school’s culture as one of storied valor but also as

irreverent with good-natured belligerence, incorporating specific imagery

including walls “covered from floor to ceiling with heavily carved wooden

plaques—more like coats of arms” and playful signage like “Welcome to

Fightertown, U.S.A.”36 Notwithstanding their contemporary settings, all works

evoke a post-WWII nostalgia, harkening back to a simpler time of old-fashioned

patriotism and the quaint treatment of male/female relations.37 This nostalgia is an




35
     3-ER-381; TG 00:08:56; TGM 00:40:05; 2-ER-174.
36
     3-ER-377, 380; TG 00:15:46; TGM 00:16:30–00:17:25; 2-ER-180-81.
37
  3-ER-378; TGM 00:16:25–00:17:20, 00:30:10, 00:46:00–00:47:25, 1:00:07–
01:01:20, 02:00:10; TG 00:18:00, 00:19:05, 00:22:00–00:23:00; 2-ER-181, 190–
91.
                                          31
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essential part of both films and the franchise’s success, as its capacity to delight

audiences comes from the suspension of modernity for a time of less polarization.

2-ER-190–91.

        “To qualify for copyright protection, a work must be original to the author.

…[T]he requisite level of creativity is extremely low…The vast majority of works

make the grade quite easily.” Feist, 499 U.S. at 345 (citing Harper & Row, 471

U.S. at 547-49). Yonay’s choice to include and pattern specific settings, action

sequences, pacing, moods, and character elements in contrasting fashion combined

to form the Story’s creative selection, arrangement, and protectable composition—

highly original in 1983 before Top Gun and its Sequel exploited and popularized it.

2-ER-194.

        Though referenced, Yonay’s Story is not about war, the base, technology, or

military history. 2-ER-181, 191–92. It is about the personal lives of remarkable

people whose ambitions, competitive nature, and moxie led them to become the

best of the best pilots at great risk to themselves and cost to their families, just like

Top Gun and its Sequel.38 As Simpson put it in choosing Yonay’s Story: “we are

going to make a movie about the process of becoming a Top Gun

and…dramatically expose you to what it’s like to go through the process, and




38
     3-ER-375–85; TGM; TG; 2-ER-164, 166, 181–82, 184.
                                           32
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succeed at it, and the price you have to pay to be frankly the most important

warrior we have.” 2-ER-283–84. But it was Yonay who first chose to center his

Story on the humanity, struggle, and bonding of these fighters and to arrange all

his Story’s elements to further this narrative, which Top Gun and Maverick copy

exactly.

      Yonay’s choices to tell the Story through the eyes of Yogi, Possum, and

other pilots and to pattern contrasting elements in his original arrangement is not to

be discounted, as he could have told the story of the naval base in thousands of

different ways, as could Paramount, though it never did. See 2-ER-194 (“It’s all

too easy to look back and say ‘of course’ but the cinematic world in 1983 was very

different than today.”). It’s no accident that one’s first reading of Yonay’s

engaging Story instantly evokes the distinctive world of the Top Gun films that

adapted it.

      In recently affirming the importance of protectable selection and

arrangement of individually unprotectable elements, this Court ruled in Hanagami,

85 F.4th at 944:

      [R]educing choreography to “poses” would be akin to reducing music
      to just “notes”…The relationship between those movements and
      patterns, and the choreographer’s creative approach of composing and
      arranging them together, is what defines the work.

      So too with Yonay’s Story, which is far more than just a bunch of facts, as

portrayed by Paramount and adopted by the lower court. Yonay digested an
                                          33
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arguably dull military subject and crafted it into an exhilarating and emotionally

compelling tale, which Paramount rushed to buy for that very reason. 2-ER-281; 3-

ER-391.

      The lower court summarily dismissed all these similarities as “random” and

“scattered throughout.” 1-ER-14. Not so. The similarities in the selection and

arrangement of these creative choices are abundant and central to both Works,

forming their fabric and foundation. 2-ER-191–93; see Hanagami, 85 F.4th at 946

(analysis is both “qualitative[] and quantitative[]”). Even a small amount of

copying, if qualitatively important, readily supports a finding of infringement. Id.

(citing Nimmer §13.03). These extensive similarities, pervasive (not “scattered”)

throughout, gave rise to a triable issue of fact, and the court erred by largely

disregarding them. Baxter, 812 F.2d at 425 (Where “reasonable minds could differ

as to the issue [of substantial similarity]…summary judgment was improper.”);

Shaw, 919 F.2d at 1355-56 (same).

             2. Theme

      The court erroneously ruled that the similar themes in the Works Plaintiffs

identified were purportedly nonexistent, including the “aviation ‘caste system,’”

“anachronism of fighter aviation,” and “post-war nostalgia that yearns for a

simpler 1950s America.” 1-ER-12.

      Indeed, both Works share strong recurring themes regarding: “the


                                          34
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anachronism of fighter aviation. Even in this age of remote-control, pushbutton

warfare, the survival and effectiveness of the entire U.S. Pacific Fleet rests on a

few dozen young men getting themselves catapulted off a flight deck and hanging

in the skies against numerically superior, land-based enemy planes” (3-ER-377–78

(emphasis added)) and that success comes down to the pilot, rather than his

aircraft. 39 In the Sequel, after the Rear Admiral tells Maverick that flyboys like him

are obsolete and soon to be replaced by unmanned drones, Maverick and the

squadron he trained catapult into the sky off a carrier deck to defeat high-tech anti-

aircraft systems and numerically and technically superior land-based enemy

planes, winning on courage and character. 40 See TGM 00:52:35 (Rooster: “It’s not

the plane, it’s the pilot”); 01:50:28 (same). Both Works feature, but ultimately

discount, the importance of technology, and glorify the moxie of older pilots (e.g.,

Maverick). 41

        The Story expressly portrays an aviation “caste system” organized like a

target where each successive ring symbolizes increasing skill until the “bullseye,”




39
     3-ER-377–78; TGM 00:13:52–00:16:21, 01:30:30–1:56:00; 2-ER-176.
40
     TGM 00:13:52–00:16:21, 01:30:30–1:56:00; 2-ER-176–77.
41
     2-ER-170–71; TGM 01:15:18; 01:17:45–01:21:15.

                                          35
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representing the “elite of the fighter elite…[t]he greatest of the greats[.]” 3-ER-

384; 2-ER-181–82. The Sequel repeatedly emphasizes that Maverick’s squadron

are the elite—the best-of-the-best fighter jocks (TGM 00:33:00 (Admiral Bates:

“You’re all Top Gun graduates, the elite, the best of the best.”)) and even uses the

same “bullseye” metaphor to express the same point.42

        Both the Story and Sequel also share an unmistakable post-war nostalgia to

endear audiences by portraying a simpler America—a bygone era of old-fashioned

patriotism, comradery, and chivalry.43 The Story: “At night the darkened base

could be mistaken for an old From Here to Eternity [(1953)] set. And even earlier

in the day, when the base is bustling, it is enveloped in a time warp of unreality…

because it looks like a small desert town out of the 1950s.” 3-ER-378; 2-ER-181,

190. A similar post-war nostalgia pervades the Sequel, from scenes in Maverick’s

hangar where he works on a WWII-era P-51 Mustang fighter plane, to scenes in

the old-school naval bar where the squadron gather round an upright piano to sing

Jerry Lee Lewis’s Great Balls of Fire (1957), with flashbacks to Top Gun where




42
     TGM 00:19:55, 00:21:30, 00:33:40; 2-ER-167–69.
43
  3-ER-378; TGM 00:16:25–00:17:20, 00:30:10, 01:00:07–01:01:20; 2-ER-181,
190–91.

                                          36
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Maverick and Goose sing the same song.44 In Maverick and Penny, we see the

quaint nostalgic treatment of male/female relationships, from the fun-in-the-sun

beach football scene with a smitten Penny looking on, to their sailing together, to

the movie ending with them flying into the sunset in Maverick’s vintage plane.45

        The Works share other similar themes ignored by the court. 1-ER-12. Both

feature ideological rifts in the Navy by juxtaposing Admirals seeking to restore

discipline with the hotshot pilots who crave autonomy.46 In both, mano-a-mano

duels above the desert plains evoke similar “Western” gunslinger themes.47 3-ER-

375, 377 (Story: “At Mach 2 and 40,000 feet…it’s always high noon”; “Yogi and

Possum…ride shotgun.”). And in Top Gun and its Sequel, the hotshot pilots are

portrayed similarly with gunslinging cowboy bravado; even the name “Maverick”

evokes Westerns.48




44
     TGM 00:03:30, 00:16:25–00:17:20, 00:30:10; 2-ER-181, 190.
45
     TGM 00:46:00–00:47:25, 00:59:00–01:01:20, 02:00:10.
46
 3-ER-384; TGM 00:13:50–00:16:20, 00:17:20–00:20:39, 00:20:45–00:21:20; 2-
ER-166–67, 176.
47
     3-ER-375, 377; TGM; 2-ER-177, 183.
48
   E.g., the 1994 Western film Maverick (2-ER-254), based on the 1957-1962
television series Maverick (2-ER-265), and 1952 Western The Maverick (2-ER-
261).

                                          37
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      The similarity in themes goes well beyond the necessities of a story or film

about a naval flight school. Reasonable jurors could readily find the Works’

themes substantially similar, preventing summary judgment. Williams, 895 F.3d at

1137 (“[A]t summary judgment, so long as [plaintiffs] presented indicia of a

sufficient disagreement concerning the substantial similarity of [the] two works,

then the case must be submitted to a trier of fact.”) (emphasis original; citation,

quotation marks omitted).

             3. Mood

      The lower court erred by ruling the Works’ moods were not substantially

similar. It said that the Sequel does not have a nostalgic mood, but as detailed

above, nostalgia pervades both Works.49 The court further ruled that other similar

moods Plaintiffs described like “the constant threat of death and violence” flowed

naturally from the Story’s subject. 1-ER-12. Here too the court erred. The constant

threat of death and violence does not flow naturally from a story about a training

school where pilots are educated in relatively safe simulated scenarios.50 Yonay




49
 1-ER-12; 3-ER-378; TGM 00:16:25–00:17:20, 00:30:10, 00:59:00–01:01:20; 2-
ER-175, 181, 190–91.
50
  Paramount’s “fact expert” explained that in 55 years, the only deadly incident at
the academy occurred in 2014, three decades after Yonay wrote his Story. 3-ER-
307.

                                          38
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chose to play up the pending threat of death as a mood to raise the stakes of his

Story, as did both films. 51 The lower court also injected its subjective opinion that,

for example, “contrast[ing] the ethereal beauty of the ‘vast blue dome of sea and

sky’ against jarring, unpredictable competitive action” in both Works does not

evoke a mood. 1-ER-12. But this is also incorrect. The Story depicts imagery of

solace and serenity to create an airy mood of peace and tranquility, which it then

shatters with intense, jarring action. 3-ER-376; 2-ER-187. The Sequel does the

same. TGM 00:34:30–00:41:30; 2-ER-187.

        The moods of the Works are quite similar and continually shift between

calm earthbound life, exhilarating flight, and intense, dangerous action. 52 Character

also informs mood. 2-ER-189. Fighter pilots—or as Yonay calls them, “pumped-

up fighter jocks”—in the Story and Sequel are like thoroughbreds, high-strung and

volatile, building tension. 3-ER-379; 2-ER-189. Severe time pressures build further

tension which is then relieved by playful interactions. 53 In the sky, the mood is




51
     3-ER-375, 377–78; TGM 00:32:40, 00:34:30–00:41:30, 00:42:45, 01:08:30.
52
     3-ER-376, 379, 382; TGM 00:24:50–00:30:30, 00:34:30–00:41:30; 2-ER-187.
53
  3-ER-377, 382; TGM 00:31:15–00:32:30, 00:42:40, 00:59:00–01:01:20,
01:02:30–01:05:50.

                                          39
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freedom from everything except gravity.54 On the ground, it is restless, waiting to

fly again.55 The Story conjures an exciting mood with cinematic rather than

textbook details, including Yonay’s portrayals of “strapping on 25 tons of

airplane” and torturously “pulling Gs”—the Sequel does the same. 3-ER-379-80;

TGM; 2-ER-190.

             4. Plot

      The lower court erroneously ruled the Story’s plot was unprotectable merely

because the naval academy and graduates are “real.” 1-ER-11–12. But again,

copyright law does not support the court’s bright-line fact/fiction framework;

proper analysis requires assessment of an author’s expression. See Shaw, 919 F.2d

at 1356 (no “definitive demarcation that measures when the similarity between

works involves copying of protected expression”) (citations omitted).

       “What is protected is the manner of expression, the author’s analysis or

interpretation of events, the way he structures his material and marshals facts…and

the emphasis he gives to particular developments. Thus, the essence of

infringement lies… in appropriating the particular expression through similarities




54
 3-ER-375, 377–78; TGM 00:32:40, 00:34:30–00:41:30, 00:42:45, 01:08:30; 2-
ER-175–77.
55
 3-ER-379; TGM 27:40–28:30, 33:30–35:00, 01:07:15, 01:01:00–01:10:32; 2-
ER-185–86.
                                         40
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of treatment, details, scenes, events and characterization.” Wainwright Sec. v. Wall

Street Transcript Corp., 558 F.2d 91, 95 (2d Cir. 1977) (citation omitted); see

Nihon Keizai Shimbun v. Comline Bus. Data, 166 F.3d 65 (2d Cir. 1999) (same).

        Contrary to the lower court’s decision, plots like the Story’s involving real

people and places are protectable. In Jacobsen v. Deseret Book Co., for instance,

the Tenth Circuit reversed the district court’s extrinsic analysis because the plot,

although based on real people and places, qualified as protectable “original

expression.” 287 F.3d 936, 945-47 (10th Cir. 2002).

        Here, rather than focusing on the naval academy or on war, the Story and

both films foreground the humanity of pilots to explore the complexity of human

beings sent off to war and to invest the audience in the narrative.56 The plots of the

Story and two derivative films are quite similar in that they journey through what it

takes to be the best of the best in fighter aviation by following the demanding,

intense lives of fighter pilots, and make this shared dynamic a core structural

element.57




56
  3-ER-378–79, 382, 384; TGM 00:20:00, 00:24:00–00:28:00, 00:28:15–00:31:35,
00:31:15–00:32:30, 00:59:00–01:01:20, 01:02:30–01:05:50; 2-ER-167–68, 179.

57
     3-ER-374–85; TGM; TG; 2-ER-164, 166, 182, 184.


                                           41
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        The Story and Sequel similarly portray fighter jocks as exceptional

individuals by emphasizing their specialized skill and competitiveness with plots

led by a driven loner (Yogi; Maverick). 2-ER-166–67, 177, 183. The Story

highlights that only the cream of the crop get invited back as instructors, and in the

Sequel, Maverick gets invited back as an instructor. 3-ER-377; TGM 00:19:45; 2-

ER-167. The Sequel incorporates the Story’s “bullseye” metaphor and for the same

literary purpose. In the Sequel, the squadron’s highly-skilled “Hangman” (whom

Maverick later bests in training) throws darts landing three-out-of-three in the

bullseye. 58

        The plots of all works focus on a small, elite group of pilots who are bound

together by their shared experiences and sacrifices in a high-stakes environment. 59

The Story portrays Yogi and Possum as an intimate “home and family.” 3-ER-

381–82; 2-ER-169. In Top Gun, Maverick and Goose are like family; the Sequel

continues this portrayal with flashbacks of them, and Maverick acting as a father

figure to Rooster. 2-ER-169; TGM 00:03:45–00:04:05, 00:31:15–00:32:30,

01:04:50–01:06:15, 02:01:25; TG. The Story twice suggests that life as an elite




58
     TGM 00:21:30; 2-ER-167–69; 3-ER-384; 2-ER-181–82.
59
  3-ER-375, 377–79; TGM 00:31:15-00:32:40, 00:34:30–00:41:30, 00:42:45,
00:59:00–01:01:20, 01:02:30–01:05:50, 01:08:30; 2-ER-167, 179.

                                          42
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pilot strains a marriage (3-ER-379, 382), and in the Sequel, Maverick’s life as an

elite pilot strained his prior relationship with Penny. TGM 01:07:15, 01:14:40; 2-

ER-167, 185–86.

        The plots of both Works emphasize the importance of rigorous training for

combat against a three-week deadline, with particular focus on dogfighting tactics

and extreme mental and physical demands. 60 In both, the training itself serves as a

major driver of the narrative, showcasing the pilots’ “shit-hot” bravado, challenges,

growth, and preparation for real combat. 61 Agonizing training is countered in both

Works by reflective moments on the ground, bar revelry, and lighthearted

recreational sailing. 62

        Both Works capitalize on the fighter jocks’ “frat-house” culture. In the

Story, the pilots place a big brass bell in their favorite bar to be rung when

someone breaks “house rules” and must buy a round for all. 63 The same brass bell




60
  3-ER-377, 379, 382–84; TGM 00:34:30–00:41:30, 00:42:40, 01:08:18, 01:10:36;
01:12:00–01:14:00; 2-ER-172–73, 178.

61
     Id.; 3-ER-378, 384; TGM 00:20:00, 00:24:00–00:28:00; 2-ER-167-68.

62
  3-ER-376–77, 379, 382; TGM 00:46:00–00:47:25, 00:50:05–00:53:35,
00:24:50–00:30:30; 2-ER-162, 167, 182, 188.

63
     3-ER-382.

                                           43
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shows up in the Sequel twice for similar comedic relief. 64 The Story amplifies

conflict by introducing an Admiral who wants to “restore discipline and naval

decorum” causing hotshot fighter jocks to leave. 3-ER-384. For the same literary

purpose, the Sequel introduces an Admiral who espouses discipline and wants to

get rid of irreverent hotshots like Maverick. 65

        Remarkably, the lower court failed to address nearly all of these detailed

similarities which gave rise to a triable issue of fact. 1-ER-10–12. See Shaw, 919

F.2d at 1363 (“Even if none of these plot elements is remarkably unusual in and of

itself, the fact that both [Works] contain all of these similar events gives rise to a

triable question of substantial similarity of protected expression.”).

              5. Sequencing

        The court ruled the sequencing in the Works was dissimilar because

purportedly, the Story is non-linear and the Sequel is linear. 1-ER-12. This is

superficial, inaccurate, and disregards the important function of the Works’ similar

sequencing. Neither the Story nor Sequel are completely linear or non-linear.

Rather, both Works are linear, broadly speaking, but use non-linear flashbacks and




64
     TGM 00:24:24, 00:30:02.
65
  TGM 00:13:50–00:16:20, 00:17:20–00:20:39, 00:20:45–00:21:20; 2-ER-166–67,
176.
                                           44
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cutaways as shortcuts to deepen the audience’s emotional attachment to the

characters.66

      In fact, the Works employ quite similar sequencing. In both, scenes of idyllic

flying are unexpectedly shattered, suddenly and violently with agonizing climbs,

dives, and dogfights. 3-ER-376; TGM 00:34:30–00:41:30; 2-ER-187. Both Works

mix these aerial sequences with reflective or convivial scenes on the ground and at

sea.67 In the Story, after a protracted tour of duty, the Wolfpack is taken for a sail

on a fancy boat; in the Sequel, after protracted aerial “combat,” Maverick goes out

on Penny’s beautiful sailboat. 3-ER-382; TGM 00:46:00–00:47:25. Both Works

use such sequencing to build momentum and engage the audience through

unexpected changes in temper and tone. 2-ER-188. The court erred by reducing the

inquiry to “linearity”—a trait both Works in fact share. 1-ER-12.

                6. Pacing

      The lower court ruled the works’ pacing was dissimilar but failed to explain

its decision other than to say the Sequel “has a consistent pace.” 1-ER-12. But this




66
  The flashbacks in the Sequel return the audience to Top Gun, on which Yonay is
credited. 3-ER-375–85; TGM 00:03:45, 00:17:00–00:17:25, 00:31:15–00:32:30,
02:01:25; 2-ER-164–65, 187–88.
67
  3-ER-376–77, 379; TGM 00:34:30–00:41:30, 00:50:05–00:53:35, 00:24:50–
00:30:30; 2-ER-162, 167, 182, 187–88.
                                           45
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is also incorrect. The Sequel, like the Story, jumps back and forth between intense

action-packed scenes and slower-paced reflective ones (e.g., Maverick and Penny).

3-ER-376–77; TGM 01:03:50–01:15:42; 2-ER-187–88. The Sequel juxtaposes a

sing-along bar scene with flashback cutaways to a deadly plane crash. TGM

00:28:15–00:31:35. There is nothing “consistent” about the Sequel’s pacing.

      Indeed, the pacing of both Works is similar, if not the same. Both contrast

the sublime beauty of flight against jolting, unpredictable action. 3-ER-376; TGM

00:34:30–00:41:30; 2-ER-187. Both Works appose more evenly paced scenes on

the ground, in the classroom, and R&R with adrenaline-charged aerial scenes to

keep their audiences engaged. 68

            7. Setting

      The court erroneously focused on differences and only superficially

considered the Works’ similar settings. 1-ER-12. It is inconsequential whether the

Works take place at Naval Air Station Miramar or North Island (id.), as both

feature the same topography, including the desert, Pacific Ocean, and beaches of

California, even though “in fact” the school moved to land-locked Fallon, Nevada

in 1996. 3-ER-377; TGM 00:16:35; 2-ER-179–80. The setting of a work




68
  3-ER-379, 382; TGM 00:24:24, 00:29:00, 00:24:50–00:30:30, 00:46:00–
00:47:25; 2-ER-162, 167, 182.

                                        46
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encompasses more than just its geographic coordinates and date; it includes its

socio-cultural environment as well. 2-ER-181. Here, the Story not only influenced

the Sequel’s settings, it taught Paramount how to see and use those settings. 2-ER-

180.

        For instance, both Story and Sequel chose to feature the bar with the big

brass bell, walls with wooden plaques, and “Fightertown” signage.69 These reveal

Yonay’s view of the Academy’s culture, i.e., both of valor and decorum and the

jocular bravado of “pumped-up fighter jocks.”70 Both Works depict the social

environment as ultra-competitive, but collegial.71 Even though set in their

respective present, both Works color the base as a place of 1950s nostalgia,

sheltered from the fraught world outside.72 This quaint backdrop in no way “flows

naturally” from a story about a naval base. Not only are the settings substantially

similar, the Story and Sequel deploy them in the same way and for the same

purpose.




69
  3-ER-377, 380, 382; TGM 00:17:00–00:17:25, 00:24:24, 00:29:00; 2-ER-180–
81.
70
     3-ER-378–79, 382, 384; TGM 00:24:50–00:30:30; 2-ER-189.
71
     3-ER-382; TGM 00:34:30–00:41:30; 2-ER-181–82.
72
  3-ER-378; TGM 00:16:25–00:17:20, 00:30:10, 01:00:07–01:01:20; 2-ER-181,
190–91.
                                          47
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             8. Characters and Dialogue

      The court ruled the Story’s characters were unprotected because they were

“real” (1-ER-13), but the correct analysis is not so simplistic, as the court must

evaluate the protectable expression Yonay used to portray them.

      The court relied on Corbello v. Valli, where a biographical play about an

“historical figure” allegedly infringed his autobiography, presenting very different

considerations. 974 F.3d 965, 971-73 (9th Cir. 2020); 1-ER-12–13. The Works’

characters hardly qualify as “historical figures” and neither is a biography. To

sweepingly interpret Corbello as abrogating all copyright protection for characters

based on real people, as the lower court did (1-ER-12–13), runs afoul of decades of

precedent and Corbello itself. 974 F.3d at 976 (“the creative expression…is

protected by copyright”); Harper & Row, 471 U.S. at 548-49 (original expression

of actual characters is protected); De Acosta, 146 F.2d at 410 (“original treatment

of…historic character…entitled to protection”); Eggleston v. Twentieth Century

Fox Film Corp., 2022 WL 3371601, at *4 (E.D. Mich. Aug. 16, 2022)

(distinguishing Corbello: “the way [plaintiff’s] life story is expressed…would be

protected—a memoir is not a bulleted list of facts”); Nimmer §2.11 (“original

biographical treatment of an historical character or event may be subject to

copyright”); Patry §4:7 (cautioning courts applying Corbello to “take a respectful

approach to expressive material…discuss[ing] historical events”).


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      Yonay’s expressive characterizations of people are protected. In the Story,

Top Gun, and its Sequel, the pilots are largely depicted as “men’s men” consumed

by their trade. TGM 01:07:15, 01:14:40; 2-ER-185–86; 3-ER-379 (Story: “With

raw sex waving in front of their eyes, these supremely healthy young males are

standing around in twos and threes and talking about the hop [(flight)].”). Yonay

portrays Yogi (pilot) and Possum (RIO) and other pilots as jocular, confident,

competitive with “shit-hot” bravado, good-humored and deeply committed. 73 The

main characters in the films (Maverick-pilot, Goose-RIO, and his son Rooster) and

other pilots share these traits. 74 Both Works portray the pilots as tight-knit, but

Maverick (like Yogi) is more a focused loner. 3-ER-381–82; 2-ER-169; TGM

00:11:35–00:13:20; TG . Yogi and Maverick are both portrayed as bold and

cheeky (e.g., waving at enemy fighters in midair). TGM 01:49:38-1:50:45; 3-ER-

382; 2-ER-187. Indeed, the court ignored Yonay’s protectable expression of

numerous additional character traits appearing in both Works, as detailed on pages

24-29, supra, and incorporated here by reference to avoid excessive repetition.

      Certainly, Yonay’s expressive characterization of the pilots’ “shit-hot”




73
  3-ER-375–85; 2-ER-166-68, 185; 3-ER-378; TGM 00:20:00, 00:24:00–
00:28:00.
74
  TGM 00:17:00–00:17:25, 00:31:15–00:32:30, 02:01:25; 3-ER-88; 2-ER-166,
185.
                                           49
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swagger and deep focus despite “raw sex waving in front of their eyes” are not

“facts” that can be traced back to naval records. 3-ER-379, 384. His Story’s

portrayals go well beyond a mere recounting of people at a naval base and must be

accorded due protection. See Shaw, 919 F.2d at 1363 (finding triable issue of fact

over substantial similarity where both works have “similar lead characters…both

leads are well dressed, wealthy, and have expensive taste…[and are] self-

assured[]”).

        The lower court also broadly denied copyright protection to the Story’s

dialogue because it was “presented as real.” 1-ER-12–13. But dialogue cannot be

overlooked per se just because it may have been spoken. Patry §4:7 (“Calling

dialogue a fact just because it is dialogue would render all interviews unprotectible,

and perhaps speeches as well.”). The court failed to consider expert evidence

explicating how Yonay’s chosen dialogue advances the Works’ similar tones,

themes, characters, and other elements. 1-ER-12–13. For instance, the characters in

both Works speak in a way that is at once droll, idiomatic, techy, and charmingly

unguarded, which informs the Works’ similar moods.75 Quips in the Story like

“Fight’s on,” “It’s Miller time,” and “I like pulling Gs. I like strapping on 25 tons

of airplane” help create the Story’s distinct world and characters, which carried




75
     3-ER-376–77, 379; TGM 00:35:08, 00:37:20, 00:39:05; 2-ER-177–78.
                                          50
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through to Top Gun and its infringing Sequel. Id.

                            _______________________

       Given all of the above, it is nigh impossible to objectively “conclude after

viewing the evidence and drawing all inferences in a manner most favorable to the

non-moving party [the Yonays,] that no reasonable juror could find substantial

similarity of ideas and expression.” Swirsky, 376 F.3d at 844.

III.   THE LOWER COURT ABUSED ITS DISCRETION BY EXCLUDING
       PLAINTIFFS’ LITERARY EXPERT HENRY BEAN.

       A trial court’s decision to admit or exclude expert testimony is reviewed for

an abuse of discretion. Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999).

The construction or interpretation of Federal Rules of Evidence 702 and 703 is

reviewed de novo. United States v. Wells, 879 F.3d 900, 914 (9th Cir. 2018).

       A.    Bean Properly Analyzed Yonay’s Protectable Expression.

       The court erroneously excluded Plaintiffs’ literary expert Henry Bean

(“Bean”) because he purportedly “fail[ed] to filter out the elements of the [Story]

and Sequel that are not protected by copyright law (i.e., facts).” 1-ER-6.

However, Bean applied the fact/expression dichotomy, considered the scènes à

faire issue, and properly focused his analysis of each extrinsic element on the

Works’ original expression:

       •     “It is worth pausing here to discuss the essential difference
             between mere facts and a dramatic story[.]” 2-ER-163–64.


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      •       “The Story, like most, necessarily conveys factual material but
             does so through the lens of its author’s subjective expression.” 2-
             ER-193–94.

      •      “Having read the article several times, I cannot think of anything
             in it that constitutes a naked ‘fact,’ unfiltered through Yonay’s
             sensibility.” 2-ER-163.

      •      “There’s all sorts of facts in there, but everything comes filtered
             through not only [Yonay’s] prose, but his telling, and he puts it
             all together in a very distinctive way.” 2-ER-89.

      •      E.g., Bean evaluating scènes à faire: “I further do not believe that
             the Story contains stock elements or tropes.…In 1983, when
             Yonay wrote his Story, and before the 1986 Film popularized the
             Story’s elements, these sort of high-tech, high-testosterone aerial
             action scenes were by no means common.” 2-ER-194.

      •      E.g., Bean evaluating mood: “The Story features cinematic,
             rather than textbook details…we read: ‘they’re floating in their
             glass bubble through a blue-on-blue crystal morning…There are
             no ups or downs up here, no rights or lefts, just a barely
             perceptible line separating one blue from another, and that line
             is spinning and racing like mad in the distance.’” 2-ER-190. See
             also plot (2-ER-173); theme (2-ER-176); character (2-ER-183).

      It is a fact that fighter jets have clear glass windows and the sky and ocean

are blue, but Plaintiffs do not claim rights in bare facts like these, nor do Bean’s

opinions rely on them. Rather, Bean’s testimony is helpful and admissible because

his analysis properly focuses on Yonay’s original expression of those facts, which

is what copyright and this case are all about. 2-ER-162–94; 2-ER-112 ¶9.

      The court cited Johannsongs-Publ’g Ltd. v. Lovland, which excluded

plaintiff’s music expert for admitting he never “consider[ed]” whether similar

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elements were “unprotectable prior art.” 2020 WL 2315805, at *4-6 (C.D. Cal.

Apr. 3, 2020). 1-ER-6. But here, as shown, Bean did “consider” scènes à faire and

applied the fact/expression analytical framework. Gilbert-Daniels v. Lions Gate

Ent. Corp., 2023 WL 8938403, at *5 (C.D. Cal. Dec. 7, 2023) (distinguishing

Johannsongs and holding that “[plaintiff’s expert] does focus on comparing

elements that he found were protectible, thereby suggesting that he filtered out

those he did not find protectible”).

      Further, Bean’s declaration and deposition testimony are consistent. 1-ER-6.

To strike an affidavit for inconsistency, the inconsistency “must be clear and

unambiguous.” Van Asdale v. Int’l Game Tech., 577 F.3d 989, 998 (9th Cir. 2009).

“[E]laborating upon, explaining or clarifying prior testimony elicited by opposing

counsel on deposition…afford no basis for excluding an opposition affidavit.”

Messick v. Horizon Indus. Inc., 62 F.3d 1227, 1231 (9th Cir. 1995).

      Here, Bean declared: “I believe I considered the expression of facts as

opposed to the underlying facts themselves…[and] I tried as best as I could to

compare the elements of the works at issue that are protectable, while disregarding

those that are not.” 2-ER-112 ¶9. Bean’s declaration describing his process of

foregrounding Yonay’s protectable expression is admissible and is consistent with




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both his expert report and deposition testimony.76 1-ER-6 n.2. To the extent there is

any inconsistency, it is not so “clear and unambiguous” as to warrant exclusion.

      B.     The Court Erroneously Excluded Bean for Not Rendering Legal
             Conclusions.

      It is also not the role of an expert witness to render legal conclusions as to

copyrightability. “[T]he issue of whether an item is copyrightable is a question of

law,” and “[m]atters of law are for the court’s determination, not that of an expert

witness.” Russell v. Walmart Inc., 2020 WL 9073046, at *4 (C.D. Cal. Oct. 16,

2020); see Nationwide Transp. Fin. v. Cass Info. Sys., Inc., 523 F.3d 1051, 1058

(9th Cir. 2008) (citations omitted) (Rendering legal conclusions is the “distinct and

exclusive province” of the courts.); Gable v. Nat’l Broad. Co., 727 F. Supp. 2d

815, 835 (C.D. Cal. 2010) (excluding expert report by the author of Nimmer on

Copyright for containing legal conclusions). Bean was correct to focus his analysis

on similarities in the Works’ expression while leaving legal determinations to the

courts.




76
  Compare Bean’s Report (2-ER-163–64; 2-ER-193–94) to his deposition (2-ER-
89 (“There’s all sorts of facts in there, but everything comes filtered through not
only [Yonay’s] prose, but his telling, and he puts it all together in a very distinctive
way.”); 2-ER-90 (“[I]n an intuitive way, I was doing some [filtration], but I was
not sitting there thinking, well, this goes in the protected bucket and that goes in
the unprotected bucket.”)).
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      Further, evaluation of “selection and arrangement” entails no filtration

because the selection and combination of even unprotected elements is protected.

See Rentmeester, 883 F.3d at 1119. Therefore, at minimum, the court abused its

discretion by excluding Bean for analyzing the Works’ selection and arrangement

without filtration, when none was required. Id.; see Hyer v. City & Cnty. of

Honolulu, __F.4th__, 2024 WL 4259862, at *8 (9th Cir. 2024) (reversing

“wholesale exclusion” of expert report: “even if this portion of [expert’s] opinion

had been properly excluded, it would not justify excluding his remaining

conclusions”).

      Given that substantial similarity in selection and arrangement is alone

sufficient to support infringement, the decision below prejudiced Plaintiffs and

must be reversed. See Hanagami, 85 F.4th at 943 (citing Rentmeester, 883 F.3d at

1120); Hyer, 2024 WL 4259862, at *9 (wholesale exclusion prejudiced plaintiffs

because “expert reports, if admitted…would have helped raise genuine disputes of

material fact”); Swirsky, 376 F.3d at 845-46 (reversing summary judgment because

expert provided “‘indicia of a sufficient disagreement concerning…substantial

similarity’”) (citation omitted).

      C.     Bean Objectively Compared the Works.

      The court also erroneously excluded Bean as “unhelpful” merely because he

used the word “feel” in his report, and on this semantic basis wrongly concluded


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Bean was opining on the “intrinsic test.” 1-ER-6.

      Whereas the extrinsic test focuses on individual literary elements such as

theme and mood, the “total concept and feel” assessment “compar[es] the works as

a whole.” Apple Comput., Inc. v. Microsoft Corp., 35 F.3d 1435, 1446 (9th Cir.

1994) (emphasis added). Here, Bean used “feel” to explain how particular extrinsic

elements were expressed by Yonay and its impact. See, e.g., 2-ER-189 (Mood:

“Yonay’s Story make[s] us feel it”); 2-ER-193 (Yonay explores characters’

backstories so readers “know them much better and can feel [i.e., understand] what

both their initial ‘failure’ and ultimate ‘success’ mean to them”); 2-ER-163

(“Yonay’s writing is highly subjective…to the extent it conveys facts, those facts

are expressed with the feeling [i.e., vibrancy] of fiction.”). Bean’s use of the word

“feel” this way is not cause to exclude him.

      Indeed, this Court’s precedent supports reversal. In Swirsky, an expert’s

opinion was disregarded below because he “concentrate[d] on how the two

choruses sound[ed] to his expert ears, which led the district court to conclude that

his testimony related to intrinsic and not extrinsic similarity.” 376 F.3d at 847. This

Court reversed, because like Bean, the expert adequately explained his personal

impression of the works “based on objective criteria.” Id. Bean’s opinions, despite

occasionally using “feel,” are tied to his analysis of the extrinsic test’s objective




                                           56
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literary elements. 2-ER-178–82, 188–89, 193. He does not opine on the intrinsic

test.

IV.     THE LOWER COURT ERRED BY ADMITTING PARAMOUNT’S
        “FACT EXPERT” ANDREW CRAIG.

        A.    The Sole Function of Craig’s Report was to Support Paramount’s
              Misleading Fact/Fiction Strawman.

        Federal Rule of Evidence 702 requires that expert testimony “assist the trier

of fact to understand the evidence or to determine a fact in issue.” Expert testimony

that does not speak to a real issue “is not relevant and, ergo, nonhelpful.” Daubert

v. Merrell Dow Pharms., 509 U.S. 579, 591 (1993).

        Paramount’s expert Andrew Craig (“Craig”) simply opines that Yonay’s

Story is factually “accurate” (e.g., 3-ER-300), when the issue here is whether

Paramount pirated Yonay’s protectable expression and selection and arrangement

of content. Harper & Row, 471 U.S. at 547. No one asserted mere “facts” are

copyrightable, and therefore Craig’s stated purpose was to determine a nonissue. 3-

ER-293 (Paramount “asked me to opine whether [the Story]…is accurate and

factually correct.”). The real reason for Paramount’s fact expert was simply to push

its legally unsupported “fact/fiction” strawman, serving only to confuse and

mislead the fact finder. Fed. R. Evid. 403.




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      B.     Craig’s Testimony is a Mere Conduit for Hearsay.

      The lower court also erred by admitting and repeatedly relying on Craig’s

torrent of inadmissible hearsay as “expert testimony.” 1-ER-7, 10–14. “[A] party

cannot call an expert simply as a conduit for introducing hearsay under the guise

that the testifying expert used the hearsay as the basis of his testimony.” Marvel

Characters, Inc. v. Kirby, 726 F.3d 119, 136 (2d Cir. 2013) (cleaned up).

Moreover, “[t]he law is clear…that an expert report cannot be used to prove the

existence of facts set forth therein.” In re Citric Acid Litigation, 191 F.3d 1090,

1102 (9th Cir. 1999). But this is exactly what the court permitted here. Craig

provided no “opinion”; he merely regurgitated hearsay to establish its truth. See

Paddack v. Dave Christensen, Inc., 745 F.2d 1254, 1262 (9th Cir. 1984) (an expert

may not “disclose hearsay…as general proof of the truth of the underlying matter,

Fed. R. Evid. 802.”); see, e.g., 3-ER-310 (Craig opining on the nature of the

personal relationships between pilots and RIO that were “typical in 1983” when he

was four); 3-ER-322 (opining on intraorganizational tensions that existed in 1977).

And what he was not purportedly told, he makes up. See, e.g., 3-ER-307

(“[I]nstructors took personal responsibility for [training accidents]. They

undoubtedly replayed the event on loop in their minds, theorizing about

preventative measures they could have taken.”).




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      While Paramount tried to color all this as “opinions” about “facts”, Craig

added no expertise or analysis to the secondhand hearsay he recites (and

embellishes)—and the fact finder needs none. See Fujifilm Corp. v. Motoral

Mobility LLC, 2015 WL 757575, at *27 (N.D. Cal. Feb. 20, 2015). Indeed, courts

routinely exclude expert reports like Craig’s that try to introduce hearsay “facts”

under the guise of expert opinions. See Paddack, 745 F.2d at 1262 (9th Cir. 1984);

Caldwell v. Cty. of San Francisco, 2021 WL 1391464, at *5 (N.D. Cal. Apr. 13,

2021) (collecting cases).

      The two cases cited by the lower court do not support admitting Craig’s

hearsay testimony. 1-ER-7 (citing EcoServices, LLC v. Certified Aviation Services,

LLC, 312 F. Supp. 3d 830, 839 (C.D. Cal. 2018) and Hilt v. Foster Wheeler, LLC,

690 F. App’x 482, 483 (9th Cir. 2017)). In contrast to Craig, the experts in those

cases applied their own expertise and included some hearsay as just one of many

factors underlying their broader opinions.

V.    THE LOWER COURT COMMITTED SERIOUS ERRORS IN
      DISMISSING THE YONAYS’ BREACH OF CONTRACT CLAIM.

      This Court reviews the district court’s construction of a contract de

novo. Mattel, Inc., 616 F.3d at 912. The lower court erred in its interpretation of

Paramount’s 1983 Agreement. Paragraph 7(b) broadly requires Paramount:

      [T]o announce on the film of any motion picture photoplay that may be
      produced by it hereunder and substantially based upon or adapted from
      said work [Story] or any version or adaptation thereof, substantially

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      incorporating the plot, theme, characterizations, motive and treatment
      of said work or any version or adaptation thereof, that said motion
      picture photoplay is based upon or adapted from or suggested by a work
      [Story] written by the Author, or words to that effect[.]

3-ER-396 ¶7(b) (emphasis added). Thus, the contract questions are: (i) Did Top

Gun “adapt[]” the Story?; (ii) Was Top Gun: Maverick “based upon” Top Gun?;

and (iii) Did Maverick “substantially incorporate[] the [listed elements] of said ...

adaptation [i.e., Top Gun]”? All are readily answered in the affirmative.

      The Sequel was “based on” and “substantially incorporated” key elements of

Top Gun, which “adapted” Yonay’s Story, Top Guns—purchased by Paramount in

the Agreement for that exact purpose. 3-ER-392 ¶II(B)(2) (providing payments to

Yonay upon “commencement of…the first motion picture…based upon the

[Story]”). Indeed, as mandated by Paragraph 7(b), Paramount credited Yonay on

the “adaptation”—Top Gun—because it “substantially incorporate[d] the plot,

theme, characterizations, motive and treatment” of the Story. As Top Gun is an

obvious “adaptation” of Yonay’s Story, and Paramount’s Sequel is an obvious

“adaptation” of Top Gun, the Yonays were entitled to summary judgment on their

breach of contract claim for Paramount’s willful failure to credit Yonay on the

Sequel. 3-ER-396 ¶7(b). Even if one were to read “substantially incorporating” as

modifying “any version or adaption” preceding it, Paramount was still required to

credit Yonay because Top Gun’s screenplay was an obvious “adaptation” of the

Story and Top Gun “substantially adapt[ed]” the elements of its own screenplay.
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      The lower court’s interpretation of the Agreement erred in many respects.

      First, it ruled that Paragraph 7(b) imposes an independent condition that the

film be “produced under” the Agreement when “produced…hereunder and

…adapted from [the Story]” are clearly not distinct conditions. 1-ER-14–15. The

phrase is a hendiadys—the two are part and parcel of the same thing. See, e.g.,

Bennett v. N.Y.C. Dep’t of Corr., 705 F. Supp. 979, 987 (S.D.N.Y. 1989) (“I read

the [two conditions]…as a hendiadys, the expression of a single idea using two

phrases connected by ‘and.’”). If a film is “based upon” the Story or “an adaptation

thereof,” then it was “produced under” Paragraph 7(b).

      Courts regularly construe “and” in context to mean “or” and vice versa. See

Tricor Am. v. Illinois Union Ins. Co., 351 F.App’x 225, 227 (9th Cir. 2009) (“the

word ‘and’ must be read as ‘or’ to effectuate the mutual intent of the parties.”)

(citing Univ. Sales Corp. v. Cal. Press Mfg. Co., 20 Cal.2d 751, 775-76 (1942)

(same)); People v. Schulz, 66 Cal.App.5th 887, 896-900 (2021) (rejecting argument

“that [] the ordinary and usual usage of ‘and’ is as a conjunctive, meaning ‘an

additional thing’”). Here, the only reasonable interpretation is that “and” suggests

the second part (“based upon”/“adapted from”) is a descriptive continuation of the

first (“produced hereunder”). Indeed, it’s hard to envision how a film could

possibly be produced under the Agreement, yet not be based upon the Story or an

adaptation thereof. The two go hand-in-hand.


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      Next, the court erred by concluding the Sequel was not “produced under” the

Agreement because the copyright termination took effect before the Sequel was

completed.77 1-ER-15. This misapprehends copyright law. Since the Act has no

extra-territorial application, termination is solely of the “transfer” of rights under

the Story’s U.S. copyright, not the entire Agreement. See 17 U.S.C. §304(c)(6)(E).

The Yonays’ statutory termination not only left the Agreement’s credit provision

intact, but Paramount retained foreign rights to the Story “under” the Agreement

and distributed its derivative Sequel worldwide. See Nimmer §11.02[B][2].

      Thereafter, the court ruled the Sequel was not “produced under” the

Agreement because “it does not infringe on the [Story’s] copyright.” 1-ER-15. But

the Agreement does not impose “copyright infringement” standards. All it requires

is that the Sequel be based upon the Story or an “adaptation thereof” (e.g., Top

Gun) and incorporate key elements of the Story or an “adaptation thereof,” which

it obviously did.

      Paramount did not contest, and thereby admitted that it drafted the

Agreement. 2-ER-125, 145, 147. Pac. Dawn LLC v. Pritzker, 831 F.3d 1166, 1178

n.7 (9th Cir. 2016). To the extent Paragraph 7(b) presents any ambiguity, the court




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  Elsewhere, Paramount argued that the Sequel’s principal photography was
substantially completed before the termination took effect. 3-ER-440–41.

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was therefore required to construe it against (not in favor of) Paramount which

“caused the uncertainty to exist.” Moore v. Wells Fargo Bank, N.A., 39

Cal.App.5th 280, 288 (2019) (“‘[W]hen different constructions of a provision are

otherwise equally proper, [the one] to be taken [is the one] most favorable to the

party in whose favor the provision was made.’”) (citation omitted); Cal. Civ. Code

§1654. The court failed to do so, committing error upon error given that, on

Paramount’s motion for summary judgment, this evidence was also to be construed

in the light most favorable to the Yonays. Alfred, 821 F.App’x at 728.

      Nor does Paragraph 8 of the Agreement, allowing Paramount to enjoy the

same rights with respect to the Story as the public, relieve Paramount of its duty to

credit Yonay. See 1-ER-15–16. Even if Paramount could produce Maverick the

same as the public, Paramount still must credit Yonay because it, not the public,

contractually promised to do so. To the extent Paragraph 8 is inconsistent,

Paragraph 7(b)—the more specific provision—controls. Starlight Ridge South

Homeowners Assn. v. Hunter-Bloor, 177 Cal.App.4th 440, 447 (2009) (citing Cal.

Code Civ. Proc. §1859).

      Further still, the court hand-waved away the fact that Top Gun is an

unmistakable adaptation of Yonay’s Story Top Guns, purchased by Paramount for

that purpose. 1-ER-15 n.5. The court curiously ruled the Yonays had not

sufficiently briefed the issue, id., when they specifically had (2-ER-147–48; 2-ER-


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48–49; 2-ER-35), and repeatedly addressed the use of the Story’s elements in both

Top Gun and Maverick throughout their briefs.78

      The Yonays likewise drew the court’s attention to the undisputed fact that

Paramount credited Yonay’s Story on Top Gun per the Agreement, and had even

submitted its Sequel’s screenplay to the 2023 USC Scripter Awards in the “Film

Adaptation” category, which Paramount billed as “Top Gun: Maverick: based on

characters from the 1983 California magazine article ‘Top Guns’ (author Ehud

Yonay).” 2-ER-48-49; 2-ER-267–71. When Paramount Legal realized what it had

publicly admitted, it hurriedly removed the Sequel from the contest. 2-ER-273–79.

VI.   THE LOWER COURT DISREGARDED THE CONTEXT IN WHICH
      THIS CASE AROSE AND THE REMEDIAL PURPOSE OF THE
      ACT’S TERMINATION PROVISIONS.

      The remedial termination right was enacted to benefit authors and their

families and redress authors’ vastly inferior bargaining position. See Mewborn, 532

F.3d at 984-85; Ray Charles Found. v. Robinson, 795 F.3d 1109, 1112 (9th Cir.

2015). “[T]he termination right was expressly intended to relieve authors of the

consequences of…unremunerative grants that had been made before the author had




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  2-ER-225 (three-column comparison chart); 2-ER-124–26, 128–29, 132–36,
138, 140, 142–44, 146–48; 2-ER-46–49, 52–53, 55–61, 64, 66–70; 2-ER-25–29,
35.

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a fair opportunity to appreciate the true value of his work product.” Mills Music,

Inc., 469 U.S. at 172-73. The Act’s termination right is arguably the most

important authorial right, short of copyright itself. Congress was extremely

protective of an author’s termination interest and enacted strong provisions to

safeguard it. See, e.g., 17 U.S.C. §203(a)(5).

      Its legislative history reflects a deliberate intent by Congress to “produce an

accommodation and a balancing among various [competing] interests.” Mills

Music, Inc., 469 U.S. at 174 n.41 (citing H.R. Rep. No. 94-1476, at 124); see

Mewborn, 532 F.3d at 984. Congress anticipated that the exercise of the

termination right would usually result in a new grant to the terminated grantee

(Paramount) and provided them the exclusive opportunity to relicense recaptured

copyrights after “notice or termination has been served,” but before its “effective

date.” 17 U.S.C. §203(b)(4).

      Here, a new license of Yonay’s Story would have been meaningful to his

family and negligible to Paramount, considering Maverick’s $170 million budget

and the billion-dollar franchise the Story inspired. It would have allowed Yonay’s

family to finally participate in some small way in the proven value of his Story,

just as Congress intended. Paramount, however, made no attempt whatsoever to

relicense it. Rather than comply with the Act, it hired pricey counsel to reduce




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Yonay’s compelling Story—which Paramount had rushed to purchase and

benefitted from for decades—to an oil slick.

      Terminated grantees like Paramount are becoming increasingly obdurate,

thumbing their noses at the Act. The district court cast a blind eye to Paramount’s

prior acquisition of the Story and the Yonays’ exercise of termination rights under

circumstances which fit the Act’s remedial purposes exactly.

                                 CONCLUSION

      For the foregoing reasons, the judgment of the lower court should be

reversed, and the case remanded for trial.

DATED: September 26, 2024              Respectfully submitted,
                                       TOBEROFF & ASSOCIATES, P.C.

                                       By: /s/ Marc Toberoff
                                             Marc Toberoff

                                       Attorneys for Appellants
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                   UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT

     Form 17. Statement of Related Cases Pursuant to Circuit Rule 28-2.6

9th Cir. Case Number(s)         24-2897

The undersigned attorney or self-represented party states the following:

[X] I am unaware of any related cases currently pending in this court.

[ ] I am unaware of any related cases currently pending in this court other than the
    case(s) identified in the initial brief(s) filed by the other party or parties.

[ ] I am aware of one or more related cases currently pending in this court. The case
    number and name of each related case and its relationship to this case are:

Signature: /s/ Marc Toberoff                  Date: September 26, 2024
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                    UNITED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT

                    Form 8. Certificate of Compliance for Briefs

9th Cir. Case Number(s)           24-2897

      I am the attorney or self-represented party.

      This brief contains 13,988 words, excluding the items exempted by Fed. R.

App. P. 32(f). The brief’s type size and typeface comply with Fed. R. App. P.

32(a)(5) and (6).

      I certify that this brief (select only one):

[ X ] complies with the word limit of Cir. R. 32-1.

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[ ] is an amicus brief and complies with the word limit of Fed. R. App. P.
   29(a)(5), Cir. R. 29-2(c)(2), or Cir. R. 29-2(c)(3).

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    only one):
       [ ] it is a joint brief submitted by separately represented parties;
       [ ] a party or parties are filing a single brief in response to multiple briefs; or
       [ ] a party or parties are filing a single brief in response to a longer joint
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Signature: /s/ Marc Toberoff                     Date: September 26, 2024
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                         CERTIFICATE OF SERVICE

      I hereby certify that on September 26, 2024, I electronically filed the

foregoing document with the Clerk for the United States Court of Appeals for the

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DATED: September 26, 2024                    By: /s/ Marc Toberoff
                                                     Marc Toberoff

                                             Attorneys for Appellants
                                             Shosh and Yuval Yonay
